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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:17-cv-20631

  AFFILIATED FM INSURANCE
  COMPANY a/s/o Camerican
  International, Inc., and CAMERICAN
  INTERNATIONAL, INC.,

         Plaintiffs,

  vs.

  DEPENDABLE WAREHOUSING &
  DISTRIBUTION, INC.,

        Defendant.
  ___________________________________/

                                   AMENDED COMPLAINT

         Plaintiffs, AFFILIATED FM INSURANCE COMPANY a/s/o Camerican International,

  Inc. (“AFM”) and CAMERICAN INTERNATIONAL, INC. (“CAMERICAN”) (collectively the

  “PLAINTIFFS”), by and through their undersigned counsel, hereby sue Defendant,

  DEPENDABLE WAREHOUSING & DISTRIBUTION, INC. (“DEPENDABLE”), and state the

  following upon information and belief:

                                        INTRODUCTION

         1.      This is an action for breach of a bailment contract arising from damage to frozen

  vegetables (“Vegetables”), owned by CAMERICAN, insured by AFM, and tendered for cold

  storage to DEPENDABLE.

         2.      This is also an action for violation of the Florida Deceptive and Unfair Trade

  Practices Act against DEPENDABLE, who acknowledged liability to CAMERICAN for its
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  damages, misrepresented to CAMERICAN that DEPENDABLE’S insurance would cover the

  claim, and instead retained the proceeds owed to CAMERICAN for themselves.

                                                PARTIES

         3.      CAMERICAN was and is a Delaware corporation with its principal place of

  business at 75 Eisenhower Drive, Paramus, New Jersey, 07652.

         4.      CAMERICAN is an importer of foodstuffs.                    CAMERICAN owned the

  Vegetables.

         5.      AFM was and is a Rhode Island corporation with its principal place of business at

  270 Central Avenue, Johnston, Rhode Island, 02919.

         6.      AFM insured the Vegetables, paid CAMERICAN’S losses resulting from the

  incident detailed herein, and is thereby subrogated to CAMERICAN’S rights to the extent of that

  payment.

         7.      AFM and CAMERICAN bring this action on their own behalf and as agents or

  trustees on behalf of all having an interest in the subject action.

         8.      DEPENDABLE was and is a Delaware company with its principal place of

  business at 2900 NW 75th Street, Miami, Florida, 33147.

         9.      DEPENDABLE operates a cold storage facility located at 2900 NW 75th Street,

  Miami, Florida (“Dependable’s Cold Storage Facility”), and contracted with CAMERICAN to

  cold store the Vegetables.

                                     JURISDICTION & VENUE

         10.     This is an action between parties of diverse citizenship, and the amount in

  controversy exceeds $75,000.00, exclusive of interest and costs. This Honorable Court has

  subject matter jurisdiction pursuant to 28 U.S.C. § 1332.

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            11.   This Honorable Court has personal jurisdiction over DEPENDABLE, and venue

  is proper pursuant to 28 U.S.C. § 1391, because DEPENDABLE resides in Miami-Dade County.

                                           BACKGROUND

            12.   In or before February 2013, CAMERICAN hired DEPENDABLE to cold store its

  Vegetables pending their sale to CAMERICAN’s customers.

            13.   Documents evidencing a bailment agreement for the cold storage are attached

  hereto as Exhibit “1” (“Agreement”).

            14.   From February 2013 to February 2014, CAMERICAN imported 10,371 cases of

  Vegetables and delivered them to DEPENDABLE for storage at Dependable’s Cold Storage

  Facility.

            15.   In or around August 2014, the refrigeration unit(s) malfunctioned in one or more

  of DEPENDABLE’s cold-store units wherein 6,975 cases of CAMERICAN’s Vegetables were

  stored.

            16.   DEPENDABLE failed to recognize the malfunction and either repair the

  refrigeration unit(s) or transfer the Vegetables to storage units with functioning refrigeration.

            17.   As a result, the 6,975 cases of Vegetables thawed and spoiled, rendering them a

  total loss.

            18.   On or around August 27, 2014, one of CAMERICAN’s customers, Antonio Pena

  Distributors (“Pena”), informed CAMERICAN via email that 339 cases of Vegetables it received

  from Dependable’s Cold Store Facility had sustained temperature abuse.

            19.   On September 4, 2014, CAMERICAN’s Jim Petrolino (“Mr. Petrolino”) notified

  DEPENDABLE of the damaged Vegetables received by Pena.




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         20.     On September 11, 2014, Mr. Petrolino visited Dependable’s Cold Storage Facility

  to inspect the Vegetables remaining there and discovered that CAMERICAN’s entire inventory

  had sustained temperature abuse.

         21.     In a September 16, 2014 email, CAMERICAN’s Hee So (“Ms. So”) informed

  DEPENDABLE that CAMERICAN’s entire inventory stored at Dependable’s Cold Storage

  Facility had sustained damage and stated “[a]t this time, please accept this email as our formal

  notice and intent to claim for all damages.”

         22.     On September 22, 2014, DEPENDABLE’s Owner and President, Manuel Rivas

  (“Mr. Rivas”), acknowledged receipt of Ms. So’s September 16, 2014 email.

         23.     A true and correct copy of the email thread referenced in ¶¶ 19-22 is attached

  hereto as Exhibit 2.

         24.     On November 13, 2014, Ms. So emailed a claim statement that itemized

  CAMERICAN’S loss to Mr. Rivas.

         25.     A true and correct copy of the November 13, 2014 email referenced in ¶ 24 is

  attached hereto as Exhibit 3.

         26.     On November 20, 2014, Mr. Rivas met with CAMERICAN representatives and

  advised them that DEPENDABLE would be filing a claim with its insurer, The Hartford

  (“Hartford”), to cover CAMERICAN’s loss.

         27.     From November 21, 2014, to January 22, 2015, Ms. So inquired via email several

  times into the status of DEPENDABLE’s claim with Hartford.

         28.     In response, Mr. Rivas advised that he had met with his insurance agent regarding

  the claim and that an adjuster had visited Dependable’s Cold Store Facility to inspect the

  Vegetables.

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         29.       On January 23, 2015, Mr. Rivas sent an email to Ms. So advising as follows:

                   The claim is well on its way, Claim#: [sic] Hartford 000421212 /
                   41220993. The adjuster on our end has inspected the goods twice,
                   and every answer they have requested submitted. Since the policy
                   is for [Dependable] I don’t think having another party involved
                   would be convenient, information can be misconstrued or differ
                   from what has already been submitted and that could either delay
                   or jeopardize coverage. Insurance claims take long to settle as we
                   all know, please be patient as I’m working hard that this coverage
                   gets taken care of.

         30.       A true and correct copy of the email thread referenced in ¶¶ 27-29 is attached

  hereto as Exhibit 4.

         31.       On February 9, 2015, Mr. Rivas (1) advised Ms. So by email that an unidentified

  individual had contacted Hartford with the claim number he had provided claiming an interest in

  the Vegetables and (2) asked whether CAMERICAN, CAMERICAN’s insurer, or

  CAMERICAN’s insurance broker had contacted DEPENDABLE’s insurer.

         32.       Ms. So responded that same day to advise that neither CAMERICAN,

  CAMERICAN’s insurer, nor CAMERICAN’s insurance broker had contacted DEPENDABLE’s

  insurer.

         33.       A true and correct copy of the February 9, 2015 email exchange referenced in ¶¶

  31-32 is attached hereto as Exhibit 5.

         34.       In a February 18, 2015 email, Mr. Rivas again asked Ms. So whether anyone

  representing CAMERICAN had contacted Hartford. In that email, Mr. Rivas also requested an

  invoice for the Vegetables being claimed, explaining that this would assist in finalizing payment

  from Hartford.




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         35.     Ms. So responded that same day to again confirm that no one representing

  CAMERICAN had contacted Hartford, and on February 24, 2015, Ms. So provided Mr. Rivas

  with the requested invoice and supporting documents.

         36.     A true and correct copy of the email exchange referenced in ¶¶ 34-35 is attached

  hereto as Exhibit 6.

         37.     On February 25, 2015, Mr. Rivas stated to Ms. So during a telephone

  conversation that Hartford was prepared to pay CAMERICAN’s claim but that a hold had been

  placed on the payment because a third party claimed an interest in the Vegetables.

         38.     On April 20, 2015, CAMERICAN’s Chief Financial Officer & Treasurer, Jay

  Breslow, sent an email to Mr. Rivas requesting an update on the claim.

         39.     Mr. Rivas responded that same day, advising “I have been going back and forth

  with the adjuster in hopes of getting closure as soon as possible. I will keep the pressure on them

  as much as possible . . . [and] will try and get some sort of solid answer from them . . . .”

         40.     A true and correct copy of the April 20, 2015 email exchange referenced in ¶¶ 38-

  39 is attached hereto as Exhibit 7.

         41.     However, DEPENDABLE was never insured by Hartford and it, accordingly,

  never filed a claim with Hartford for the damage caused to the Vegetables, as DEPENDABLE

  (via Mr. Rivas) claimed.

         42.     DEPENDABLE never paid CAMERICAN for the damage caused to the

  Vegetables.

         43.     As a result, CAMERICAN suffered monetary losses totaling $97,721.84.

         44.     CAMERICAN filed a claim for that amount with its insurer, AFM, and AFM paid

  CAMERICAN $92,721.84 ($97,721.84 less CAMERICAN’s $5,000.00 deductible) in settlement

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  of the claim. AFM thereby became subrogated to CAMERICAN’s rights to the extent of that

  $92,721.84 payment.

         45.       CAMERICAN retains $5,000.00 in uninsured losses, the amount of its deductible.

                                     COUNT I
                     BREACH OF BAILMENT AS AGAINST DEPENDABLE

         46.       Paragraphs 1 through 45 are incorporated by reference as though fully set forth at

  length herein.

         47.       The parties entered into a valid and enforceable bailment agreement as evidenced

  by the documents attached hereto as Exhibit “1” (“Agreement”).

         48.       CAMERICAN performed all its duties and obligations thereunder by paying

  DEPENDABLE the agreed fee for cold storage of the Vegetables.

         49.       Under the Agreement, DEPENDABLE was obligated “to exercise such care in

  regard to the [the Vegetables] as a reasonable careful man would exercise under like

  circumstances.” Agreement, Clause 11(A).

         50.       DEPENDABLE breached that obligation by failing to recognize the refrigeration

  breakdown and take necessary steps to prevent temperature-related damage to the Vegetables.

         51.       As a direct and proximate cause of DEPENDABLE’s breach, Plaintiffs sustained

  damages, as nearly can now be determined, no part of which has been paid although duly

  demanded, in the sum of $97,721.84.

                               COUNT II
      DECEPTIVE AND UNFAIR TRADE PRACTICES AS AGAINST DEPENDABLE

         52.       Paragraphs 1 through 51 are incorporated by reference as though fully set forth at

  length herein.




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         53.     The Florida Deceptive and Unfair Trade Practices Act (FDUTPA) provides that

  “[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts

  or practices in the conduct of any trade or commerce are hereby declared unlawful.” Fla. Stat. §

  501.204.

         54.     DEPENDABLE assured CAMERICAN that it had filed a claim with its insurer,

  Hartford; that Hartford adjusters had inspected the damaged Vegetables; and that Hartford would

  issue payment for their losses specified herein.

         55.     However, Hartford never insured DEPENDABLE, and DEPENDABLE’s

  assurances to CAMERICAN were outright lies. In fact, DEPENDABLE never intended to pay

  CAMERICAN for its losses occasioned by DEPENDABLE’s breach of bailment contract.

         56.     Rather, DEPENDABLE (1) was insured through another insurer, collected

  insurance proceeds intended to resolve CAMERICAN’s claim, but decided to keep those

  proceeds for itself; (2) was insured through another insurer yet never filed a claim with that

  insurer, explicitly recognized that it was liable for CAMERICAN’s claim, but decided to keep

  the proceeds it owed CAMERICAN for its losses occasioned by DEPENDABLE’s breach of

  bailment contract; or (3) DEPENDABLE was never insured, explicitly recognized that it was

  liable for CAMERICAN’s claim, but decided to keep the proceeds it owed CAMERICAN for its

  losses occasioned by DEPENDABLE’s breach of bailment contract.

         57.     Under    any    of    these    scenarios,    DEPENDABLE’s             actions   constitute

  “unconscionable acts or practices, and unfair or deceptive acts or practices” in violation of

  FDUTPA, Fla. Stat. § 501.204.




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          58.     As a direct and proximate cause of DEPENDABLE’s FDUTPA violation,

  Plaintiffs sustained damages, as nearly can now be determined, no part of which has been paid

  although duly demanded, in the sum of $97,721.84.

          WHEREFORE, Plaintiffs AFFILIATED FM INSURANCE COMPANY a/s/o Camerican

  International, Inc. and CAMERICAN INTERNATIONAL, INC. demand judgment in their favor

  and against the Defendant, DEPENDABLE WAREHOUSING & DISTRIBUTION, INC. in the

  principal amount of $97,721.84, together with all allowable interest thereon, reasonable

  attorneys’ fees, costs and disbursements, and such other and further relief as the Court deems just

  and proper.

                                       JURY TRIAL DEMAND

          PLAINTIFFS hereby demand a jury trial on all claims, defenses, and issues raised in the

  entire case, and that are so triable as a matter of law.

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served on June 9,

  2017, by electronic transmission through the Court’s CM/ECF system upon all parties on the

  attached CM/ECF Service List.

                                                             Respectfully submitted,
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